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                                                                            UNITED STATES DISTRICT COURT
                                           9                               NORTHERN DISTRICT OF CALIFORNIA
                                                                                  SAN JOSE DIVISION
                                          10
For the Northern District of California




                                               GPNE CORP.,                                     )
                                          11                                                   )    Case No.: 12-CV-02885-LHK
    United States District Court




                                                                      Plaintiff,               )
                                          12          v.                                       )
                                                                                               )    PROPOSED VERDICT FORM
                                          13   APPLE, INC.,                                    )
                                                                                               )
                                          14                          Defendant.               )
                                                                                               )
                                          15

                                          16          The parties shall file any objections to the proposed verdict form by Monday, October 20,
                                               2014, at 8:15 p.m. Objections should not exceed 1 page in length.
                                          17

                                          18
                                               IT IS SO ORDERED.
                                          19
                                               Dated: October 20, 2014                             _________________________________
                                          20                                                       LUCY H. KOH
                                          21                                                       United States District Judge

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                       When answering the following questions and filling out this Verdict Form, please follow
                                           1   the directions provided throughout the form. Your answer to each question must be unanimous.
                                           2   Some of the questions contain legal terms that are defined and explained in detail in the Jury
                                               Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of
                                           3   any legal term that appears in the questions below.

                                           4          We, the jury, unanimously agree to the answers to the following questions and return them
                                               under the instructions of this Court as our verdict in this case.
                                           5
                                                                                     I. INFRINGEMENT
                                           6
                                                      1. For each of the following products, has GPNE proven by a preponderance of the
                                           7             evidence that Apple has infringed Claim 44 of the ’492 patent as to GPRS:
                                           8              Please answer in each cell with “Infringed” (for GPNE) or “Not infringed” (for Apple).
                                                          GPNE does not accuse the below Apple products of infringement of Claim 44 of the
                                           9              ’492 patent as to LTE.
                                          10
                                                         Apple Product         Literal Infringement       Doctrine of Equivalents
For the Northern District of California




                                          11                                   (GPRS only)                (GPRS only)
    United States District Court




                                          12
                                                         iPhone 4 (A1332)
                                          13

                                          14
                                                         iPhone 4S (A1387)
                                          15

                                          16
                                                         iPhone 5 (A1428)
                                          17

                                          18
                                                         iPad 2 (A1396)
                                          19

                                          20
                                                         iPad 3 (A1430)
                                          21

                                          22             iPad mini (A1454)
                                          23

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                      2. For each of the following products, has GPNE proven by a preponderance of the
                                           1             evidence that Apple has infringed Claim 19 of the ’954 patent as to GPRS:
                                           2             Please answer in each cell with “Infringed” (for GPNE) or “Not infringed” (for Apple).
                                                         GPNE does not accuse the below Apple products of infringement of Claim 19 of the
                                           3             ’954 patent as to LTE.
                                           4             Apple Product        Literal Infringement       Doctrine of Equivalents
                                           5                                  (GPRS only)                (GPRS only)

                                           6
                                                         iPhone 4 (A1332)
                                           7

                                           8
                                                         iPhone 4S (A1387)
                                           9

                                          10
                                                         iPhone 5 (A1428)
For the Northern District of California




                                          11
    United States District Court




                                          12
                                                         iPad 2 (A1396)
                                          13

                                          14
                                                         iPad 3 (A1430)
                                          15

                                          16             iPad mini (A1454)
                                          17

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                           1          3. For each of the following products, has GPNE proven by a preponderance of the
                                                         evidence that Apple has infringed Claim 22 of the ’954 patent as to GPRS and/or
                                           2             LTE:
                                           3             Please answer in each cell with “Infringed” (for GPNE) or “Not infringed” (for Apple).
                                                         Do not provide an answer for any cell that is blacked out.
                                           4
                                                    Apple Product                   Literal Infringement       Doctrine of Equivalents
                                           5

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                                                                           GPRS
                                                    iPhone 4 (A1332)
                                           7
                                                                           LTE
                                           8
                                                                           GPRS
                                                    iPhone 4S (A1387)
                                           9
                                                                           LTE
                                          10
                                                                           GPRS
For the Northern District of California




                                                    iPhone 5 (A1428)
                                          11
    United States District Court




                                                                           LTE                                 N/A
                                          12
                                                                           GPRS
                                          13
                                                    iPhone 5 (A1429)                                           N/A
                                                                           LTE
                                          14
                                                                           GPRS
                                          15        iPad 2 (A1396)
                                                                           LTE
                                          16
                                                                           GPRS
                                          17        iPad 3 (A1430)
                                                                           LTE
                                          18
                                                                           GPRS
                                          19        iPad 3 (A1403)
                                                                           LTE
                                          20
                                                    iPad mini (A1454)      GPRS
                                          21
                                                                           LTE
                                          22
                                                    iPad mini (A1455)      GPRS
                                          23                                                                   N/A
                                                                           LTE
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                                                                                              4
                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                                                           II. INVALIDITY
                                           1
                                                      4. Has Apple proven by clear and convincing evidence that GPNE’s patent claims are
                                           2             invalid?
                                           3             Please answer in each cell with “Invalid” (for Apple) or “Valid” (for GPNE).
                                           4                       GPNE Asserted Claim            Invalid or Valid
                                           5
                                                                   ’954 patent, Claim 19
                                           6
                                                                   ’954 patent, Claim 22
                                           7
                                                                   ’492 patent, Claim 44
                                           8

                                           9

                                          10                                III. DAMAGES (IF APPLICABLE)
For the Northern District of California




                                          11         If you find that Apple infringed any valid claim of the asserted patents, you must then
                                               determine the amount of money damages to be awarded to GPNE to compensate GPNE for
    United States District Court




                                          12   Apple’s infringement.

                                          13
                                                      5. What is the total dollar amount that GPNE is entitled to receive from Apple on the
                                          14             claims on which you have ruled in favor of GPNE?

                                          15
                                                                 $_______________________________________________
                                          16

                                          17          6. For the total dollar amount in your answer to Question 5, please indicate whether
                                                         you calculated the amount based on a lump sum royalty or a per unit royalty by
                                          18             writing down either “lump sum royalty” or “per unit royalty” on the line below.

                                          19
                                                                  _______________________________________________
                                          20

                                          21         If you answered “lump sum royalty” to Question 6, you do not need to answer
                                               Question 7. If you answered “per unit royalty” to Question 6, please answer Question 7.
                                          22

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                           1          7. For the “per unit royalty,” please provide the dollar breakdown for each product
                                                         in the chart below.
                                           2

                                           3                 Apple Product                         Damages (in total dollars)
                                                             iPhone 4 (A1332)                      $
                                           4
                                                             iPhone 4S (A1387)                     $
                                           5                 iPhone 5 (A1428)                      $
                                           6                 iPhone 5 (A1429)                      $
                                           7                 iPad 2 (A1396)                        $
                                                             iPad 3 (A1430)                        $
                                           8
                                                             iPad 3 (A1403)                        $
                                           9
                                                             iPad mini (A1454)                     $
                                          10                 iPad mini (A1455)                     $
For the Northern District of California




                                          11
                                                       The individual amounts in each cell of Question 7 should add up to the total you have
    United States District Court




                                          12   listed in your answer to Question 5.

                                          13          You have now reached the end of the verdict form and should review it to ensure it
                                               accurately reflects your unanimous determinations. The Presiding Juror should then sign and date
                                          14   the verdict form in the spaces below and notify the Bailiff that you have reached a verdict. The
                                               Presiding Juror should retain possession of the verdict form and bring it when the jury is brought
                                          15   back into the courtroom.
                                          16

                                          17    DATED: ____________, 2014             By:______________________________________
                                                                                         Presiding Juror
                                          18

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
